183 F.2d 416
    COMMISSIONER OF INTERNAL REVENUE, Petitioner,v.BROWN SHOE COMPANY.
    No. 13851.
    United States Court of Appeals Eighth Circuit.
    July 13, 1950.
    
      On Petitions to Review Decision of The Tax Court of the United States, 10 T.C. 291.
      Theron Lamar Caudle, Assistant Attorney General, Ellis N. Slack, Special Assistant to Attorney General, Lee A. Jackson, Special Assistant to Attorney General, Carlton Fox, Special Assistant to Attorney General, Charles Oliphant, Chief Counsel, Bureau of Internal Revenue, and Charles E. Lowery, Special Attorney, Bureau of Internal Revenue, Washington, D.C., for the Commissioner of Internal Revenue.
      Charles B. McInnis, Washington, D.C., for the Brown Shoe Co.
      Before GARDNER, Chief Judge and WOODROUGH and THOMAS, Circuit Judges.
      PER CURIAM.
    
    
      1
      Judgment of June 17, 1949, 175 F.2d 305, vacated, set aside and held for naught, and causes remanded to The Tax Court of the United States for further proceedings in conformity with the opinion of the Supreme Court of the United States filed May 15, 1950, 70 S.Ct. 820.
    
    